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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

  SANDRA A. WILLIAMS,

        Plaintiff,

        vs.                                            CIV. ACTION NO._______________

  LAZER SPOT, INC., and
  ARTHUR HENDERSON,                                    JURY TRIAL DEMANDED

        Defendants.


                              COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Sandra A. Williams, by and through the undersigned

Counsel of Record, and hereby files this Complaint for Damages against Defendants

Lazer Spot, Inc., and Arthur Henderson (collectively, “Defendants”), respectfully

showing the Court as follows:

                            I. JURISDICTION AND VENUE

                                                1.

      Plaintiff Sandra A. Williams brings the above-captioned case pursuant to (a)

Title VII of the Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. §§

2000e, et seq., for sexual harassment (hostile work environment and quid pro quo)



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and retaliation and (b) the laws of the State of Georgia for assault, battery, intentional

infliction of emotional distress, as well as negligent retention and supervision.

                                                 2.

      The United States District Court for the Northern District of Georgia

(“Court”) is vested with original jurisdiction pursuant to 28 U.S.C. § 1331 because

the above-captioned complaint involves the laws of the United States and with

supplemental jurisdiction pursuant to 28 U.S.C. § 1367 because the State law claims

arise from the same nucleus of operative facts as the Federal law claims.

                                                 3.

      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants reside

and/or maintain a place of business in the Northern District of Georgia, Atlanta

Division, and the unlawful conduct forming the basis of the above-captioned

complaint occurred in the Northern District of Georgia, Atlanta Division.

                                                 4.

      Prior to commencing this matter, Plaintiff satisfied all administrative

prerequisites to institute this action. Specifically, Plaintiff timely filed Charges of

Discrimination with the Equal Employment Opportunity (“EEOC”) within one-

hundred-and-eighty (180) calendar days from the day the discrimination took place

(Charge No. 410-2019-05685) and Plaintiff has timely commenced the above-

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captioned case within ninety (90) days of receipt of the Notice of Right to Sue, dated

February 11, 2011.

                                             II. PARTIES

                                                 5.

      Plaintiff Sandra A. Williams (“Williams” or “Plaintiff”) is a fifty-eight (58)

year old African-American female, who is a citizen of the United States, resident of

the State of Georgia, subject to this Court’s jurisdiction, and entitled to bring the

claims asserted in the above-captioned case.

                                                 6.

      At all relevant times, Williams was employed by Lazer Spot, Inc., within the

meaning of, among other laws, the Title VII, 42 U.S.C. § 2000e(f).

                                                 7.

      Defendant Lazer Spot, Inc., (“Lazer Spot”) is a Georgia profit corporation and

provider of yard management in the United States and Canada, affecting inter-state

commerce through its headquarters located in Alpharetta, Georgia.

                                                 8.

      Lazer Spot is subject to the Court’s jurisdiction with a principle office located

at 6525 Shiloh Road, Suite 900, Alpharetta, Georgia 30005.



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                                                 9.

      Lazer Spot is an “employer” within the meaning of, among other laws, Title

VII, 42 U.S.C. § 2000e(b), with more than twenty (20) employees for each working

day in each of the twenty (20) or more calendar weeks in the current or preceding

calendar year while engaging in inter-state commerce.

                                                10.

      Lazer Spot may be served with process through Corporation Service

Company, Registered Agent, located at 2 Sun Court, Suite 400, Peachtree Corners,

Georgia 30092.

                                                11.

      Defendant Arthur Henderson (“Henderson”)—African-American male—

was, at all relevant times, a citizen of the United States, resident of the State of

Georgia, and subject to the jurisdiction of this Court.

                                                12.

      Henderson served, at all relevant times, as a Manager involved in the day-to-

day operation of Lazer Spot, and regularly exercised authority to: (a) hire and

terminate employees, (b) determine the schedules and assignments for employees,

(c) supervise employees, and (d) otherwise control operation Lazer Spot.



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                                                13.

      Wilson may be served at Lazer Spot located at 6525 Shiloh Road, Suite 900,

Alpharetta, Georgia 30005.

                              III. FACTUAL ALLEGATIONS

                                                14.

      Williams re-alleges and incorporates each and every preceding Paragraph of

the above-captioned complaint as if set forth fully herein.

                                                15.

      Lazer Spot provides, inter alia, yard management to manufacturers and

retailers located in the United States and Canada from facilities, including, but not

limited to, its headquarters located in Alpharetta, Georgia.

                                                16.

      Williams is a fifty-eight (58) year-old African-American female.

                                                17.

      After completing high school, Williams obtained a Class A, Commercial

Driver’s License, permitting Williams to operate vehicles with a Gross Vehicle

Weight Rating of 26,0001 pounds or more. Subsequently, Williams became a

professional Truck Driver. Prior to working for Lazer Spot, Williams was the

Owner/Operator of Williams 5 Trucking.

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                                                18.

      On or about September 6, 2018, Williams became employed, at the Alpharetta

location under the supervision of Henderson, by Lazer Spot as a Driver, responsible

for safely relocating freight between locations.

                                                19.

      Immediately upon the commencement of Williams’ employment, Henderson

began sexually harassing Williams on a daily, continual, and regular basis.

                                                20.

      On almost a daily basis at Lazer Spot, Henderson subjected Williams to

unwelcomed sexual advances and comments. For example, Henderson routinely

groped Williams’ breasts and buttocks. Similarly, Henderson repeatedly requested

that Williams accompany Henderson to the woods, hotels, and Henderson’s

residence to engage in sexual intercourse. Often, when making these unwelcome

sexual advances and requests, Henderson was intoxicated.




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                                                21.

      Although Williams repeatedly ignored, turned away, pulled away, walked

away and declined Henderson’s unwelcome sexual advances, expressed displeasure

with the remarks and advances, and otherwise attempted to limit interactions within

the confines of professional discussions, Henderson continued and escalated the

unwelcome sexual advances, requests, and comments.

                                                22.

      Despite Henderson’s unwelcome sexual advances, within a month of

employment, Williams diligently and professionally performed all assigned duties

and tasks as a Drive. Consequently, within a month of employment, Williams was

promoted to Lead Driver. In this capacity, Williams was responsible for providing

customer service, serving as a liaison between customers and drivers, as well as other

duties and tasks assigned by management, including Henderson.

                                                23.

      In addition to the hostile work environment, Henderson utilized his position

of authority to attempt to extort sexual favors from Williams in exchange for

compensation and professional assistance. For example, Henderson repeatedly

stated that Henderson would give Williams additional monies, if Williams would

spend the day with Henderson and engage in sexual intercourse. And, on at least

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one occasion, Henderson offered to rehire Williams’ friend and former Laser Spot

employee, Rika, if Williams kissed Henderson.                         Because Rika diligently and

professionally performed all tasks while working with and under Williams, the

rehiring of Rika would have improved Williams’ productivity, decreased Williams’

workload, and otherwise assisted Williams’ professional performance while

employed by Lazer Spot.

                                               24.

      Faced with the unyielded and unrelenting sexual advances, comments, and

offers, Williams eventually summoned the courage to report Henderson’s unlawful

conduct. In this regard, Williams was instructed to report issues through the chain-

of-command, beginning with Henderson. However, because Henderson was the

subject of Williams’ complaints, Williams was un comfortable with discussing the

matter with Henderson. Despite repeated requests, no one would advise Henderson

how to report/complain about Henderson’s unwelcome sexual advances and Human

Resources would not answer or respond to Williams’ calls.

                                               25.

      Because Williams’ immediate supervisor, Henderson, was the subject of the

complaint, Williams sought to meet with other members of Lazer Spot’s

management to seek remedial action. Beginning in or about November 2018,

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Williams sent texts to Jerry Hudgins (“Hudgins”)—Henderson’s supervisor—to set

up a meeting to discuss Henderson’s unwelcome sexual advances. After receiving

no response, Williams discovered that Hudgins was no longer employed by Lazer

Spot.

                                                  26.

        When Williams refused to entertain Henderson’s unwelcome sexual

advances, in or about February 2019, Henderson began making sexual advances to

another Driver, Shawne McKinney (“McKinney”), who was receptive to

Henderson’s sexual advances and commenced a sexual relationship.

                                                  27.

        To punish Williams who refused to yield to Henderson’s unwelcome sexual

advances, Henderson then engaged in a retaliatory campaign against Williams. For

example, beginning in February 2019, Henderson reduced Williams hours without

any cause or explanation. Furthermore, Henderson convinced McKinney to falsely

report that Williams was improperly writing-up, harassing, and bullying Drivers.

However, Williams never wrote-up any Drivers. Moreover, McKinney falsely

accused Williams of spreading rumors related to a sexual relationship between

Regional Manager Troy Watson (“Watson”), Regional Manager and Henderson’s

personal friend, and another Driver.

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                                               28.

      Similarly, although Williams was required to execute an Employee Handbook

as part of the 6-month evaluation, Henderson refused to provide Williams with the

Handbook. When Henderson finally provided an incomplete and altered document

missing pages related to sexual harassment, Williams refused to acknowledge

receipt of the complete, unaltered Handbook. Henderson then responded that, until

Williams acknowledged receipt of the Handbook, Williams would not receive an

increase in compensation and Williams would be demoted. Faced with Henderson’s

threats, Williams executed a document acknowledging receipt of the Handbook

although Williams was not provided with the complete document.

                                               29.

      Williams repeatedly attempted to complain to Lazer Spot’s management

about Henderson’s unlawful conduct. On at least one occasion, Williams requested

contact information for Human Resources, however, Henderson refused to provide

Williams with the information needed to report Henderson’s unlawful conduct.

Williams also attempted to communicate Watson, Regional Manager, however,

Henderson then sent a text message, instructing Williams not to contact Watson.

Williams also contacted Rodney Felix, Manager in McDonough, who also failed to

respond to Williams.

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                                               30.

      Continuing the retaliatory campaign, on or about May 14, 2019, Henderson

wrote-up Williams for allegedly reprimanding Drivers (McKinney and Isaac

Jefferson) without an explanation. However, Henderson instructed Williams to

write-up the Drivers. Rather than write-up the Drivers who had not been properly

trained, Williams verbally discussed with the Drivers the issues raised by

Henderson. As a result of Henderson’s write-up, Williams was demoted to Driver,

resulting in a reduction in compensation.

                                               31.

      Faced with Henderson’s retaliatory campaign and efforts to wrongfully

terminated Williams’ employment, on or about May 30, 2019, Williams sent

Lorraine Sosa (“Sosa”), Vice President of Human Resources, a letter, complaining

about unlawful treatment based upon gender and retaliation at the hands of

Henderson. Moreover, Williams requested that Lazer Spot mediate the dispute and

issues involving Henderson. Sosa never responded to Williams’ letter or took any

remedial action.

                                               32.

      Immediately following Williams’ complaint and letter to Sosa, Henderson

became even more hostile and retaliatory against Williams. For example, although

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Williams was demote to Driver, Henderson required Williams to perform Lead

Driver duties and tasks. Moreover, Henderson requested that a mechanic inspect

Williams’ truck to find a potential infraction Henderson could use a pretextual basis

to terminate Williams’ employment.

                                                33.

      Within a month of the complaint to Human Resources, Henderson wrote-up

Williams for an alleged verbal altercation with McKinney, Henderson’s lover.

Because the alleged verbal altercation never occurred, Williams challenged the

write-up. Nevertheless, on or about June 21, 2019, Williams was suspended without

pay based upon McKinney’s false allegations.

                                                34.

      On or about June 24, 2019, Henderson sent Human Resources another letter,

complaining about, inter alia, Henderson’s sexual harassment and retaliation—

Human Resources never responded.

                                                35.

      Faced with Lazer Spot’s refusal to take any remedial action based upon

Williams’ repeated complaints, on or about July 3, 2019, Williams filed a Charge of

Discrimination with the EEOC.



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                                               36.

      Rather than respond to Williams’ complaints or take any remedial action

related to Henderson’s sexual harassment and retaliation, on or about July 5, 2019,

Defendants terminated Williams’ employment.

                                               37.

      Even after terminating Williams’ employment, Defendants continued the

retaliatory campaign against Williams.                    For example, Williams’ subsequent

employer, Pratt Industries, requested verification of Williams’ dates of employment

with Lazer Spot. Although Williams had been employed with Lazer Spot for

approximately eight (8) months, Lazer Spot stated that Williams had only been

employed for two (2) months. But for Williams’ ability to verify the actual dates of

employment through income records, Williams’ employment would have again been

wrongfully terminated.

                                               38.

      Although Williams diligently performed, Defendants treated Williams

unequivocally and significantly less favorably than her male co-workers who were

in similar and comparable positions.




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                                                39.

      Despite Williams complaints, reports, and notification of unlawful treatment

and sexual harassment, Defendants did nothing to address Williams complaints and,

ultimately, retaliated against Williams shortly after complaints and reports of sexual

harassment.



                                  IV. CLAIMS FOR RELIEF

                              COUNT I
                      SEXUAL HARASSMENT
          HOSTILE WORK ENVIRONMENT AND QUID PRO QUO
                   IN VIOLATION OF TITLE VII
                    (Against Defendant Lazer Spot)

                                                40.

      Williams re-alleges and incorporates each and every preceding Paragraph of

the Complaint as if set forth fully herein.

                                                41.

      Title VII prohibits employers from discriminating against an employee based

upon sex/gender, including sexual harassment in the form of unwelcome sexual

advances, requests for sexual favors, and other verbal or physical conduct of a sexual

nature with the purpose or effect of unreasonably interfering with an employee’s

performance or creating an intimidating, hostile, and/or offensive work environment.

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                                                 42.

      Defendants violated Title VII, such that a cause of action exists where

discrimination on the basis of gender/sex was the causative agent of adverse actions

directed at Williams by Defendants.

                                                 43.

      While employed by Lazer Spot, Williams was forced to endure, because of

her gender/sex, a hostile work environment, sexual assault, and sexual battery, where

Williams was subjected to adverse employment action(s) while forced to endure

inflammatory remarks, harassment, intimidation, humiliation without any legitimate

basis, as well as constant unwelcome sexual comments and advances without any

legitimate basis.

                                                 44.

      Williams, as a fifty-eight (58) year old female, is a member of a protected

group.

                                                 45.

      From on or about September 2018 until July 2019, an employer-employee

relationship existed between Williams and Lazer Spot, such that Williams was an

“employee” and Lazer Spot was an “employer” within the meaning Title VII.



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                                               46.

      At all times relevant to this action, Lazer Spot acted by and through its agents

and employees, including, but not limited to, Henderson, each of whom acted in the

course and scope of their employment with and for Lazer Spot.

                                               47.

      During the course of Williams employment, Henderson repeatedly subjected

Williams to unwelcome sexual comments and advances, including, but not limited

to, repeatedly groping Williams’ breasts and buttocks, requesting that Williams

accompany Henderson to the woods and hotels to engage in sexual intercourse,

making other unwelcome sexual advances and requests while intoxicated.

                                               48.

      Similarly, while employed by Lazer Spot, Williams was forced to endure,

because of her gender/sex, unwelcome sexual harassment, including, but not limited

to, conditioning additional monies and professional assistance on sexual favors.

                                               49.

      Henderson’s almost daily unwelcome sexual comments and advances were

severe and pervasive, materially affecting the terms and conditions of William’s

employment.



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                                                50.

      When Williams refused to comply with, and reported, Henderson’s constant,

unwelcome sexual comments and advances, Henderson aggressively escalated the

sexual harassment, assaults, and batteries while Defendants subjected Williams to

tangible employment actions, including, but not limited to, write-ups, suspensions,

and termination of employment without cause based solely on Williams’ complaints

concerning sexual harassment.

                                                51.

      The discrimination to which Williams was subjected to by Defendants was

based upon gender/sex in violation of Title VII and, thus, Williams is entitled to all

appropriate relief provided under the law.

                                                52.

      Defendants’ actions constituted discrimination and disparate, adverse

treatment based upon gender/sex such that the intentional actions by Defendants

adversely impacted Williams’ terms, conditions, and privileges of employment.

                                                53.

      Defendants’ actions created a hostile work environment based upon

gender/sex such that the intentional actions by Defendants adversely impacted

Williams’ terms, conditions, and privileges of employment.

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                                                54.

      Defendants’ discriminatory conduct was accomplished pursuant to an

unofficial policy, practice, and/or custom of Defendants.

                                                55.

      As a direct and proximate result of Defendants’ intentional and unlawful

conduct, which was intended to cause Williams harm and/or was committed with

reckless disregard of the harm caused to Williams, in derogation of her Federally-

protected rights, Williams suffered and continue to suffer emotional pain and

suffering, mental anguish, humiliation, loss of enjoyment of life, embarrassment,

danger to their reputation, and other pecuniary loses.

                                                56.

      Defendants’ intentional and illegal conduct entitles Williams to compensatory

damages, as well as any and all other remedies available under Title VII.

                                                57.

      Defendants’ actions with regard to Williams demonstrate willful misconduct,

malice, fraud, wantonness, oppression, and a complete lack of care and, therefore,

Williams is entitled to an award of punitive damages to deter, punish, and penalize

Defendants for and from similar future conduct.



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                                         COUNT II:
                                      RETALIATION
                               IN VIOLATION OF TITLE VII
                               (Against Defendant Lazer Spot)

                                                58.

      Williams re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                59.

      Title VII prohibits employers from retaliating against an employee who

opposes an employment practice prohibited by, or exercise or attempt to exercise

rights under, Title VII.

                                                60.

      Williams is a fifty-eight (58) year old African-American female and member

of a protected group.

                                                61.

      During the relevant period, the relationship between Williams and Lazer Spot

was an employer-employee relationship within the meaning of Title VII, such that a

cause of action exists where retaliation on the basis of opposing and/or reporting

discrimination is alleged to be the causative agent of adverse employment action(s)

directed to Lazer Spot by Defendants.


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                                                62.

      During the course of Williams’ employment, Defendants unlawfully and

knowingly discriminated against Williams based upon, among other things,

gender/sex in violation of, inter alia, Title VII.

                                                63.

      Williams repeatedly complained to Defendants’ management and human

resources about unlawful employment practices based upon gender/sex and sexual

harassment.

                                                64.

      Similarly, on or about July 3, 2019, Williams filed with the EEOC a Charge

of Discrimination, wherein Williams complained about sexual harassment and

retaliation in violation of Title VII.

                                                65.

      Immediately following Williams complaints concerning, among other things,

unlawful employment practices and sexual harassment, Defendants reduced

Williams’ hours, demoted Williams, wrote-up Williams, suspended Williams

without pay, terminated Williams’ employment, and sought to have Williams’

subsequent employment terminated based solely on Williams’ complaints

concerning sexual harassment and retaliation in violation of, inter alia, Title VII.

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                                                  66.

         The effect of Defendants’ actions has been to suspend and deprive Williams

of an employment position, as well as loss income in the form of wages, prospective

retirement benefits, social security, and other benefits due Williams because of the

exercise of Williams’ Federally-protected rights.

                                                  67.

         Defendants’ adverse employment action(s) against Williams constitute

unlawful retaliation against Williams in violation of, inter alia, Title VII.

                                                  68.

         Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Williams’ harm and/or were committed with reckless and wanton disregard of the

harm causes to Williams in derogation of Williams’ Federally-protected rights.

                                                  69.

         Defendants’ discriminatory and retaliatory actions were undertaken in bad-

faith.

                                                  70.

         The retaliation to which Williams was subjected by Defendants entitles

Williams to all appropriate relief afforded under the law.



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                                                71.

      As a result of Defendants’ intentional and unlawful actions, Williams has

suffered lost compensation and other benefits of employment, physical and

emotional distress, inconvenience, humiliation, damage to her reputation, other

indignities, as well as past and future pecuniary losses.

                                                72.

      Defendants’ actions with respect to Williams have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Williams is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.

                         COUNTS III AND IV:
                       ASSAULT AND BATTERY
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
             (Against Defendants Lazer Spot and Henderson)

                                                73.

      Williams re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                74.

      Georgia law prohibits, among other things, intentional conduct causing

physical harm to another person.


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                                               75.

     Additionally, Georgia law prohibits, among other things, attempted batteries

and/or conduct that places another person in reasonable apprehension of an

immediate violent injury.

                                               76.

     At all relevant times, Henderson and Williams were employed by Lazer Spot.

                                               77.

     During the course of employment, Williams was required, as a Driver and

Lead Driver, to work under the instruction and direct supervision of Henderson.

                                               78.

     Despite Williams’ repeated objections, opposition, reports, and complaints,

Henderson repeatedly made unwelcome sexual comments and advances, including,

but not limited to, repeatedly groping Williams’ breasts and buttocks, requesting

sexual encounters, as well as making other unwelcome sexual advances and

remarks while intoxicated.

                                               79.

     Henderson’s repeated physical attacks and assaults, which were willful,

intentional, and directed towards Williams for reasons personal to Henderson,

proceeded from anger, rudeness, and/or lust.

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                                               80.

      When Williams refused to comply with, and reported, Henderson’s constant,

unwelcome sexual comments and advances, Defendants began to subject Williams

to retaliatory adverse employment actions.

                                               81.

       Although Williams repeatedly complained to Defendants’ management and

human resources concerning Henderson’s unwelcome sexual advances and remarks,

as well as threatening conduct, Defendants failed to take any remedial action.

                                               82.

      As a direct result of Henderson’s repeated offensive comments, sexist

remarks, forceful physical contact, and increasingly aggressive sexual actions,

Williams reasonably apprehended a violent injury and/or battery.

                                               83.

      All apparent circumstances, reasonably viewed, were such as to lead a person

to reasonably apprehend a violent injury and/or battery from Henderson’s unlawful

conduct.




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                                                84.

      Henderson was not privileged, authorized, or justified when repeatedly

touching Williams in a sexual manner and forcibly groping Williams in a sexual

manner.

                                                85.

      When repeatedly assaulting Williams, Henderson was performing within the

scope of his employment with Lazer Spot.

                                                86.

      As the direct and proximate result of Defendants’ intentional, willful,

unlawful, and tortious conduct, Williams has suffered, among other things, fear,

humiliation, embarrassment, mental anguish, physical injuries, and damages in an

amount to be determined at trial.

                                                87.

      Defendants’ tortious actions and conduct were undertaken in bad-faith.

                                                88.

      The assaults and batteries to which Williams was subjected by Defendants

entitles Williams to all appropriate relief afforded under the law.




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                                                  89.

      Defendants’ actions with respect to Williams have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Williams is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.

                              COUNT V:
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
             (Against Defendants Lazer Spot and Henderson)

                                                  90.

      Williams re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                  91.

      Defendants’ statements, conduct, and behavior towards Williams were

intentional and reckless, extreme and outrageous, causing Williams severe shame,

humiliation, embarrassment, and emotional distress of a nature that no person should

endure.

                                                  92.

      Defendants’           statements,         conduct,       and      behavior        towards        Williams

demonstrate, among other things, a “retaliatory animus.”


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                                                93.

      At all relevant times, the Parties had a special, employer-employee

relationship, wherein Defendants had control over Williams, as well as Williams

income and/or livelihood.

                                                94.

      When engaging in the intentional, reckless, extreme, and outrageous conduct

towards Williams, Defendants knew that Williams was dependent upon the income

received from with employment with Lazer Spot.

                                                95.

      Henderson repeatedly subjected Williams to unwelcome sexual comments

and advances, including, but not limited to, groping Williams’ breasts and buttocks,

requesting that Williams accompany him to hotels and the woods for sexual

intercourse, as well as other unwelcome sexual advances and remarks while

intoxicated.

                                                96.

      Defendants knew or should have known that such conduct would result in the

severe emotional distress suffered by Williams.




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                                                97.

      As a result of Defendants’ conduct, Williams has and will continue to suffer

severe emotional distress and other damages for Williams is entitled to recover.

                                  COUNT VI
                 NEGLIGENT RETENTION AND SUPERVISION
                     IN VIOLATION OF GEORGIA LAW
                        (Against Defendant Lazer Spot)

                                                98.

      Williams re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                99.

      As a result of the actions taken by Defendants, Williams suffered, among

other things, assaults, batters, discrimination based gender/race, and retaliation.

                                               100.

      Defendants owed Williams a duty to hire, retain, and supervise employees

who would lawfully conduct themselves and not engage in discriminatory,

retaliatory, and/or tortious conduct.




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                                               101.

      By negligently retaining and supervising its employees, including, but not

limited to, Henderson, Lazer Spot breached their duty to hire, retain, and supervise

employees who would lawfully behave.

                                               102.

      Lazer Spot knew or, in the exercise of ordinary diligence, should have known

of the propensity of its employees, to engage in unlawful conduct against Williams.

Indeed, Williams repeatedly complained about and reported Henderson’s tortious

and unlawful conduct to Lazer Spot.

                                               103.

      By failing to engage in any corrective or remedial action, Lazer Spot ratified,

condoned, and/or adopted its employees’ unlawful conduct.

                                               104.

      As a direct and proximate result of Lazer Spot’s negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by employees, including,

but not limited to, Henderson, Williams suffered damages.




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                                               105.

      Lazer Spot’s negligent conduct entitles Williams to compensatory damages,

punitive damages, as well as any and all other remedies available under the law.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully demand a trial by jury and request the

following relief:

      (a)     That the Clerk of the Court issue summons and original process, served

              upon Defendants and any other person or entity the Court deems

              necessary in accordance with the law;

      (b)     That the Court grant declaratory judgment that Plaintiff’s rights under,

              among other laws, Title VII were violated;

      (c)     That the Court award Plaintiff compensatory damages for all injuries

              suffered as a result of Defendants’ unlawful conduct;

      (d)     That the Court award back pay, including, but not limited to, unpaid

              back wages, lost income, bonuses, incentive compensation, pension,

              social security, and other benefits in amounts to be shown at trial;

      (e)     That the Court award liquidated damages equal to back pay and lost

              benefits based upon Defendants’ willful violations of, inter alia, Title

              VII;

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 (g)    That the Court award punitive damages in an amount reasonable and

        commensurate with the harm done and calculated to be sufficient to

        deter such future conduct;

 (h)    That the Court award pre-judgment interest on any monetary award;

 (i)    That the Court grant a trial by jury as to all triable issues of fact; and

 (j)    Further and additional relief as may be just and appropriate.

 Respectfully submitted, this 6th day of May, 2021.

                                             MOLDEN & ASSOCIATES

                                              /s/ Regina S. Molden
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  SANDRA A. WILLIAMS,

         Plaintiff,

         vs.                                            CIV. ACTION NO._______________

  LAZER SPOT, INC., and
  ARTHUR HENDERSON,                                     JURY TRIAL DEMANDED

         Defendants.


                LOCAL RULE AND SERVICE CERTIFICATION

      The undersigned counsel certifies that this document has been prepared in

accordance with the Local Rules and that the foregoing Complaint for Damages has

been filed with the Clerk using the CM/ECF system which will notify the attorney(s)

of record.

      Respectfully submitted, this 6th day of May, 2021.

                                                   MOLDEN & ASSOCIATES

                                                    /s/ T. Orlando Pearson
                                                   T. ORLANDO PEARSON
                                                   Georgia Bar No. 180406




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